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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

  In re:                                                   )     Chapter 11
                                                           )
  AMERICAN PHYSICIAN PARTNERS, LLC, et                     )     Case No. 23-11469 (BLS)
  al.                                                      )
                  Debtors                                  )     (Joint Administration Requested)


                      MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission pro
hac vice of David L. Fuchs of Fuchs Law Office, LLC to represent Certain Former Employees in this action.

                                                           SULLIVAN • HAZELTINE • ALLINSON LLC

                                                            /s/ William D. Sullivan
                                                           William D. Sullivan (No. 2820)
                                                           919 North Market Street, Suite 420
                                                           Wilmington, DE 19801
                                                           Tel: (302) 428-8191
                                                           Email: bsullivan@sha-llc.com

                CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the Commonwealth of Pennsylvania and submit
to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or
course of this action. I also certify that I am generally familiar with this Court’s Local Rules and with
Standing Order for District Court Fund revised 8/31/2016. I further certify that the annual fee of $25.00
has been paid to the Clerk of Court for District Court.

                                                            /s/ David L. Fuchs
                                                           David L. Fuchs
                                                           Fuchs Law Office, LLC
                                                           554 Washington Ave., First Floor
                                                           Carnegie, PA 15106
                                                           Tel: (412) 223-5404
                                                           Email: dfuchs@fuchslawoffice.com

                                     ORDER GRANTING MOTION

           IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




  Dated: September 21st, 2023                        BRENDAN L. SHANNON
  Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE
